          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      CHARLOTTE DIVISION

                     CRIMINAL CASE NO. 3:02cr144


UNITED STATES OF AMERICA, )
                          )
                          )
             vs.          )                     ORDER
                          )
                          )
TAIWANNA SULLIVAN.        )
                          )



      THIS MATTER is before the Court on the Government’s motion for

reconsideration of the decision of the undersigned to remit the requirement

that the Defendant pay restitution.

      On April 19, 2006, the Court revoked the Defendant’s probation and

sentenced her to an active term of imprisonment. The Court also remitted

her obligation to pay restitution, finding that she was completely financially

unable to do so. For the reasons stated on the record during the

revocation hearing, the Court declines to stay imposition of its Judgment

pending appeal.




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    IT IS, THEREFORE, ORDERED that the Government’s motion is

hereby DENIED.



                                    Signed: June 12, 2006




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